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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

 v.                                          Crim. Action No. 1:21CR108

 MICHAEL FOY,

                       Defendant.



      MOTION FOR LEAVE TO FILE SENTENCING MEMORANDUM AND
                      EXHIBITS UNDER SEAL
         Michael Foy, through undersigned counsel, respectfully moves this Court for

permission to file the defense Memorandum in Aid of Sentencing and exhibits under

seal pursuant to Local Criminal Rule 5.1(h). In support of this Motion, counsel states:

      1. Mr. Foy will be before for sentencing on February 28, 2024.

      2. Defense counsel will file Mr. Foy’s Sentencing Memorandum on February 21,

         2024.

      3. Counsel seeks leave to file the Memorandum and exhibits, which contain

         sensitive mental health and other sensitive information under seal. Counsel

         will provide chambers and the government with a copy the under seal

         submission.

      4. The Court has the inherent power to seal materials submitted to it. See United

         States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980); United States v. Wuagneux,

         683 F.2d 1343, 1351 (11th Cir. 1982); Times Mirror Company v. United States,
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   873 F.2d 1210 (9th Cir. 1989); In re Knight Pub. Co., 743 F.2d 231, 235 (4th

   Cir. 1984) (the trial court has supervisory power over its own records and may,

   in its discretion, seal documents if the public’s right of access is outweighed by

   competing interests).

5. Because the Memorandum and exhibits contain sensitive information, counsel

   moves to seal the defense sentencing materials. In the alternative, counsel

   seeks leave to file the Memorandum and exhibits with redactions.

                                           Respectfully submitted,

                                           A. J. Kramer
                                           Federal Public Defender

                                           ________/s/_________
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                                           Assistant Federal Public Defender
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